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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                         IN RE: SOCIAL MEDIA ADOLESCENT                      Case No. 22-md-03047-YGR (LJC)
                                   7     ADDICTION/PERSONAL INJURY
                                   8     PRODUCTS LIABILITY LITIGATION
                                                                                             ORDER RE: JOINT DISCOVERY
                                   9     This Filing Relates to:                             LETTER

                                  10                                                         Re: ECF No. 386
                                         ALL ACTIONS
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court has reviewed the parties’ Joint Discovery Letter, ECF No. 386, and orders the

                                  14   parties to appear for a hearing on the disputes regarding the ESI Protocol, ECF No. 352, and

                                  15   Defendants’ confidentiality redesignations, ECF No. 364. As indicated in the Clerk’s Notice, the

                                  16   hearing will be held via Zoom on November 14, 2023, at 10:30 a.m. ECF No. 389.

                                  17          With respect to the Preservation Order, the Court orders that the parties go forward with

                                  18   their proposed meet and confer schedule outlined at ECF No. 386 at 6-7. In addition, the Court

                                  19   notes the dispute described in Footnote 5 of the parties’ Joint Discovery Letter. Id. at 6. Having

                                  20   reviewed the transcript of the July 6, 2023 Discovery Conference, ECF No. 335, and the parties’

                                  21   Joint Statement Re: Preservation Order, ECF No. 297, the Court orders that Defendants provide a

                                  22   list of every system or data source, including tools, that has potentially relevant information as part

                                  23   of the October 20, 2023 exchange. Judge Hixson already directed such a disclosure at the July 6,

                                  24   2023 Discovery Conference. July 6 Hr’g Tr., 19:10-14. No declarations regarding

                                  25   proportionality, burden, inaccessibility, or other similar issues are required at this time. However,

                                  26   each Defendant shall insure that at least one employee with technical expertise regarding its data

                                  27   repositories, systems, data sources, and tools, attends and participates in the meet and confer

                                  28   discussions. The personnel with this technical expertise shall provide assistance at these informal
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                                   1   meet and confers, including in discussions that address what may be reasonably and proportionally

                                   2   preserved by Defendants. Finally, sample Snapshots of user accounts are also not currently

                                   3   required. If the parties still struggle to make progress, and there are ongoing disputes about the

                                   4   need for sample Snapshots or declarations regarding proportionality, burden and inaccessibility,

                                   5   then in advance of the parties’ November 15, 2023 joint status report, the parties may submit a

                                   6   joint letter not to exceed three pages that addresses these issues, should the parties seek the Court’s

                                   7   prompt resolution of such disputes. Otherwise, these issues may be addressed as part of the

                                   8   parties’ joint status report on the proposed Preservation Order.

                                   9          IT IS SO ORDERED.

                                  10   Dated: October 17, 2023

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Northern District of California
 United States District Court




                                                                                                     LISA J. CISNEROS
                                  13                                                                 United States Magistrate Judge
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